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                       EXHIBIT B
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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOI]ISIANA

In Re: Oil Spill by the Oil Rig                             MDL No.2t79
       "Deepwater Horizontt
       in the Gulf of Mexico,
       on April20,20l0                                      SECTION: J

This Document Relates to:

       AII Cases                                            JI]DGE BARBIER
                                                            MAG. JUDGE SHUSHAN


     PLAINTIFF'S MEMORANDT]M IN SUPPORT OF HIS MOTION TO VACATE
                                  ORDERAI\TD REASONS
                     [As to Motions to Dismiss the Bl Master Complaintl

       Selmer M. Salvesen ("Plaintiff') respectfully requests that this Honorable Court vacate

its Order and Reasons [As to Motions to Dismiss the B1 Master Complaint], Rec. Doc. 3830

dated August26,2011, for the following reasons.

                                      INTRODUCTION

       In order to efficiently manage MDL 2l79,this Honorable Court consolidated and

organized the various types of claims into several "pleading bundles" for the purpose of

the filing of complaints, answers and any Rule 12 motions. (Case Management Order No. l,

Rec. Doc. 569).

       The "Bl" pleading bundle includes all claims for private or "non-governmental"

economic loss and property damages." There are in excess of 100,000 individual claims

encompassed within the "B1" pleading bundle. On December 15, 2010, in accordance with Case

Management order No.l, the Plaintiffs' steering committee ("psc") filed a 81 Master

Complaint. On January 12,2011, the MDL 2179 Court issued PTO No. 25, tnorder to clarifu
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o'the
        scope and effect" of the "Bl" Master Complaint. The Court held that any individual plaintiff

who is a named plaintiff in a case that falls within pleading bundle "Bl " "is deemed to be a

plaintiff in the "Bl" Master Complaint." Also, "the allegations, claims, theories of recovery

and/or prayers for relief contained within the pre-existing petition or complaint are deemed to be

amended, restated, and superseded by the allegations, claims, theories of recovery, and/or

prayers for relief in the respective "Bl" Master Complaint(s) in which the Defendant is named."

On February 9,2011, the PSC filed a First Amended Master Complaint @ec. Doc. 1128).

          In the 81 First Amended Master Complaint, the PSC identifies a number of categories of

claimants seeking various types of economic damages, including Commercial Fishermen

Plaintiffs, Processing and Distributing Plaintiffs, Recreational Business Plaintiffs, Commercial

Business Plaintiffs, Recreation Plaintiffs, Plant and Dock Worker Plaintiffs, Vessel of

Opportunity ("VoO") Plaintiffs, Real Property Plaintiffs, Real Property/Tourism Plaintiffs,

Banking/Retail Business Plaintiffs, Subsistence Plaintiffs, Moratorium Plaintiffs, and Dealer

Claimants.

          Rather than allege claims under the Oil Pollution Act of 1990 ("OPA") (which governs

the MDL 2179 cases alleging economic loss due to the BP oil spill) and the Outer Continental

Shelf Lands Act ("OCSLA") (which governs the MDL 2179 personal injury and wrongful death

actions and borrows the law of the adjacent state as surrogate federal law), the PSC made the

unfathomable decision to allege claims under a hodgepodge of statutes.

          In the Bl First Amended Master Complaint, the PSC states, "The claims presented herein

are admiralty or maritime claims within the meaning of Rule 9(h) of the Federal Rules of Civil




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Procedure. Plaintiffs hereby designate this case as an admiralty or maritime case, and request a

non-jury trial, pursuant to Rule 9(h)."

       Under general maritime law, the PSC alleges claims for negligence, gross negligence and

willful misconduct, and strict liability for manufacturing and/or design defect. Under various

state laws, the PSC alleges claims for nuisance, trespass, and fraudulent concealment. Under the

Florida Pollutant Discharge Prevention and Control Act, Fla. Stat. $ 376.011, et seq., PSC

alleges a claim for strict liability. The PSC also seeks: (a) punitive damages under all claims; and

(b) a declaration by the Court that the conduct of BP and its agents and representatives, including

the Gulf Coast Claims Facility ("GCCF"), in obtaining releases and/or assignments of claims

against other parties, persons, or entities is not an obligation of BP under OPA.

        The PSC points out that the B1 Master Complaint "is submitted pursuant to this Court's

Case Management Order No. 1 as: (1) an administrative device to serve the functions of

effrciency and economy; and (2) to present certain common claims and common questions of

fact and law for appropriate action by this Court, including class certification and trial, in the

context of this multidistrict proceeding."

        The B1 First Amended Master Complaint "Prayer for Relief'states in part:

        "WFDREFORE, Plaintiffs and the Class and/or Subclass Members demand judgment
        against Defendants, jointly, severally, and solidarily, as follows:

        (0 An order certi$ing the Class and/or Subclasses as set forth herein under the
        appropriate provisions of F.R.C.P. 23, appointing Plaintiffs as Class and/or Subclass
        Representatives, and appointing undersigned counsel as counsel for the Class and/or
        Subclasses for the purpose of determining the quantum or ratio of punitive damages to be
        assessed against each of the Defendants, to be paid ratably to Class and/or Subclass
        members who recover, through claims processes or litigation, actual damages and/or
        otherwise equitably utilized in accord with the societal purposes of punitive damages."




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       The PSC appears to be more interested in ensuring significant economy and efficiency in

the judicial administration of the MDL 2179 cotxt rather than in obtaining justice for the MDL

2179 plaintiffs. As noted above, in its Bl First Amended Master Complaint, the PSC alleges

claims under general maritime law, not under OPA and OCSLA, thereby assisting this

Honorable Court in expeditiously being able to:

       (a) Find, "The Deepwater Horizon was at all material times a vessel in navigation."

       (b) Find, *Admiralty jurisdiction is present because the alleged tort occurred upon
       navigable waters of the Gulf of Mexico, disrupted maritime commerce, and the
       operations of the vessel bore a substantial relationship to traditional maritime activity.
       With admiralty jurisdiction comes the application of substantive maritime law."

       (c) Find, "State law, both statutory and common, is preempted by maritime law,
       notwithstanding OPA's savings provisions. All claims brought under state law are
       dismissed."

       (d) Find, "General maritime law claims that do not allege physical damage to a
       proprietary interest are dismissed under the Robins Dry Dock rule, unless the claim falls
       into the commercial fishermen exception."

       (e) Find, *.... That nothing prohibits Defendants from seffling claims for economic loss.
       While OPA does not specifically address the use of waivers and releases by Responsible
       Parties, the statute also does not clearly prohibit it. In fact, as the Court has recognized in
       this Order, one of the goals of OPA was to allow for speedy and efficient recovery by
       victims of an oil spill."

In re Oil Spill by the Rig Deepwater Horizon in the Gulf of Mexico,onApril20, 2010, - F. Supp.
2d -,2011 WL 3805746 (Aug. 26,2A11 E.D. La.).

       Since the PSC requests a non-jury trial pursuant to Rule 9(h) and alleges claims under

general maritime law, rather than OPA and OCSLA, this Honorable Court has formulated a trial

plan that dispenses with trial by jury and instead conducts a bench trial applying general

maritime law.

       Although this Honorable Court did not address the issue of class certification in its Order


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dated August26,2011, Plaintiff Salvesen filed his "Motion in Opposition to Class Certification

of Any Action in MDL 2179" on December 4,2011 (Rec. Doc. 4798). See attached Exhibit A

and Exhibit B. This motion is pending in this Honorable Court.



                                    LAW AI\ID ARGI]MENT

A.     The Lexecon Rule

       The Supreme Court has held that a district court conducting pretrial proceedings pursuant

to 28 U.S.C. $1a07(a) has no authority to invoke 28 U.S.C. gla0a(a) to assign a transferred case

to itself for fral. Lexecon Inc. v. Milberg Weiss Bershad Hynes & Lerach,523 U.S. 26 (1998).

       In Lexecon, petitioners, a law and economics consulting firm and one of its principals

(collectively, "Lexecon"), were defendants in a class action brought against Charles Keating and

the American Continental Corporation in connection with the failure of Lincoln Savings and

Loan. It and other actions arising out of that failure were transferred for pretrial proceedings to

the District of Arizona under 28 U. S. C. $1a07(a), which authorizes the Judicial Panel on

Multidistrict Litigation to transfer civil actions with common issues of fact "to any district for

coordinated or consolidated pretrial proceedings," but provides that the Panel "shall" remand any

such action to the original district "at or before the conclusion of such pretrial proceedings."

Before the pretrial proceedings ended, the plaintiffs and Lexecon reached a o'resolution," and the

claims against Lexecon were dismissed. Subsequently, Lexecon brought a diversity action in the

Northern District of Illinois against respondent law firms (hereinafter Milberg and Cotchett),

claiming several torts, including defamation, arising from the {irms' conduct as counsel for the

class action plaintiffs. Milberg and Cotchett moved for, and the Panel ordered, a g1407(a)




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transfer to the District of Arizona. After the remaining parties to the Lincoln Savings litigation

reached a final settlement, Lexecon moved the Arizona District Court to refer the case back to

the Panel for remand to the Northem District of Illinois. The law firms filed a countermotion

requesting the Arizona District Court to invoke $ 1a0a(a) to "transfer" the case to itself for trial.

With only the defamation claim against Milberg remaining after a summary judgment ruling, the

court assigned the case to itself for trial and denied Lexecon's motion to request the Panel to

remand. The Ninth Circuit then denied Lexecon's petition for mandamus, refusing to vacate the

self-assignment order and require remand because Lexecon would have the opportunity to obtain

relief from the transfer order on direct appeal. After Milberg won a judgment on the defamation

claim, Lexecon again appealed the transfer order. The Ninth Circuit affirmed on the ground that

permitting the transferee court to assign a case to itself upon completion of its pretrial work was

not only consistent with the statutory language but conducive to efficiency.

        Justice Souter, in delivering the opinion of the Court, explained 28 U. S. C. $1a07(a)

authorizes the Judicial Panel on Multidistrict Litigation to transfer civil actions with common

issues of fact "to any district for coordinated or consolidated pretrial proceedings," but imposes a

duty on the Panel to remand any such action to the original district "at or before the conclusion

of such pretrial proceedings." "Each action so transferred shall be remanded by the panel at or

before the conclusion of such pretrial proceedings to the district from which it was transferred

unless it shall have been previously terminated." 28 U.S.C. $1a07(a). The issue here is whether a

district court conducting such "pretrial proceedings" may invoke 28 U.S.C. $1a0a(a) to assign a

transferred case to itself for trial. We hold it has no such authority.

        Justice Souter pointed out that the Panel's instruction comes in terms of the mandatory



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"shall," which normally creates an obligation impervious to judicial discretion . Anderson v.

Yunglrau,329 U. S. 482, 485 (1947). In the absence of any indication that there might be

circumstances in which a transferred case would be neither "terminated" nor subject to the

remand obligation, then, the statutory instruction stands flatly at odds with reading the phrase

"coordinated or consolidated pretrial proceedings" so broadly as to reach its literal limits,

allowing a transferee court's self-assignment to trump the provision imposing the Panel's remand

duty. If we do our job of reading the statute whole, we have to give effect to this plain command,

see Estate of Cowart v. NicHos Drilling Co.,505 U. S. 469, 476 (1992), even if doing that will


reverse the longstanding practice under the statute and the rule, see Metropolitan Stevedore Co.

v. Rambo (1995X"'Age is no antidote to clear inconsistency with a statute."(quoting Brown v.

Gardner,5l3 U. S 115, 122 (1994))).

       ln Lexecon, Milberg proffers an argument for overlooking the tension between a broad

reading of a court's pretrial authority and the Panel's remand obligation. Milberg relies on a

subtle reading of the provision of $1407(a) limiting the Panel's remand obligation to cases not

"previously terminated" during the pretrial period. To be sure, this exception to the Panel's

remand obligation indicates that the Panel is not meant to issue ceremonial remand orders in

cases already concluded by summary judgment, say, or dismissal. But according to Milberg, the


imperative to remand is also inapplicable to cases self-assigned under $1404, because the self-

assignment "terminates" the case insofar as its venue depends on $1407. When the $1407

character of the action disappears, Milberg argues, the strictures of $1407 fall away as well,

relieving the Panel of any further duty in the case. The trouble with this creative argument,

though, is that the statute manifests no such subtlety. Section ru07@) speaks not in terms of



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imbuing transferred actions with some new and distinctive venue character, but simply in terms

of "civil actions" or "actions." It says that such an action, not its acquired personality, must be

terminated before the Panel is excused from ordering remand. The language is straightforward,

and with a straightforward application ready to hand, statutory interpretation has no business

getting metaphysical.

       Moreover, the Supreme Court found that neither the statute's language nor legislative

history can unsettle $1407's straightforward language imposing the Panel's responsibility to

remand, which bars recognizing any self-assignment power in a transferee court and

consequently entails the invalidity of the Panel's Rule 14(b).

       If it has anything to say to us here, the legislative history tends to confirm that self-

assignment is beyond the scope of the transferee court's authority. Justice Souter noted that the

same House Report that spoke of the continued vitality of $1404 in 91407 cases also said this:

       "The proposed statute afficts only the pretrial stoges in multidis*ict litigation. It would
       not affect the place of trial in any cose or exclude the possibility of transfer under other
       Federal statutes.....The subsection requires that transferred coses be remanded to the
       originating district at the close of coordinated pretriol proceedings. The bill does not,
       therefore, include the trial of cases in the consolidated proceedings." H. R. Rep.
       No.l130,90ft Cong.,2d Sess., p. a (1968) @mphasis raa"O;

       The comments of the bill's sponsors further suggest that application of 28 U.S.C. $1407

would not affect the place of trial. See, e.g., Multidistrict Litigation: Hearings on S. 3815 and

S. 159 before the Subcommittee on Improvements in Judicial Machinery of the Senate Comm.

On the Judiciary, 90ft Cong., l't Sess. Pt.2,p.110 (1967) (Sen. Tydings) (..[W]hen the

deposition and discovery is completed, then the original litigation is remanded to the transferor

district for trial"). Both the House and the Senate Reports stated that Congress would hove to



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amend the statute if it determined that multidistrict litigation cases should be consolidatedfor

trial.S.Rep. No. 454,90& Cong., l't Sess., p. 5 (1967). @mphasis added)

        Justice Souter concluded by stating, "In sum, none of the arguments raised can unsettle

the straightforward language imposing the Panel's responsibility to remand, which bars

recognizing any self-assignment power in a transferee court and consequently entails the

invalidity of the Panel's Rule 14(b). See 28 U. S. C. $ 1407(f ). Milberg may or may not be

correct that permitting fansferee courts to make self-assignments would be more desirable than

preserving a plaintifPs choice of venue (to the degree that $1407(a) does so), but the proper

venue for resolving that issue remains the floor of Congress.,,

        The fact that $ 1407's strict remand requirement creates an interest too substantial to be

left without a remedy is attested by a congressional judgment that no discretion is to be left to a

court faced with an objection to a statutory violation. The $1407 mandate would lose all meaning

if a party who continuously objected to an uncorrected categorical violation of the mandate could

obtain no relief at the end of the day.

       Writing in dissent for the Ninth Circuit, Judge Alex Kozinski presaged the Supreme

Court's ruling by characterizing self-transfer as "a remarkable power grab by federal judges,"

because the practice exceeded the authority Congress granted to transferee judges. Lexecon Inc.

v. Milberg Weiss Bershad Hynes & Lerach (In re American Continental Corp./Lincoln Sav. &

Loan Sec. Litig.),102 F.3d 1524, 154019'h Cir. 1996)(Kozinski, J., dissenting) (arguing that ..the

language itself [of 1407] is clear as sunlight"), rev'd, I 18 S. Ct.956 (199S). In addition, Judge

Kozinski had observed that nearly 30 years of congressional silence on the issue of self-transfer

merited liule deference since Congress exercises little oversight in the M.D.L. area. See



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Lexecon,102 F.3d at 1549 (Kozinski, J., dissenting)(contrasting this area with Congress'

"vigorous oversight" of tax laws, where congressional silence could properly be considered

ratification).


B.         The "Conundrum"

           The Honorable John G. Heyburn II, Chair of the Judicial Panel on Multidistrict Litigation

("Panel"), addressed the Lexecon decision in his article, "A View From the Panel: Part of the

Solution," 82 Tulane L. Rev.2225 (2005). The following is an excerpt from Judge Heyburn's

article.

           "A continuing unresolved controversy over the Panel's history has concerned the power

of hansferee judges to retain transferred actions for trial. For nearly thirty years, numerous

transferee judges tried such actions after first transferring the actions to themselves under

28 U.S.C. $ 1a04(a) or 28 U.S.C. $ 1406 - a practice expressly recognized in then operative

Panel Rule l4(b), which provided that "'[e]ach transferred action that has not been terminated in

the transferee district court shall be remanded by the Panel to the transferor district for trial,

unless ordered transferred by the transfereejudge to the transferee or other district under

28 u.s.c. $ 1a0a(a) or 28 U.s.c. $ 1406."' see, e.g., Lexecon Inc. v. Milberg weiss Bershad

Hynes & Lerach,523 U.S. 26,32-33 (1998) (quoting Panel Rule l4(b)). This further transfer was

necessary, of course, because S 1407 authorizes transferfor pretriol proceedings only. See 28

U.S.C. $ la07(a) (2000). Id. at2233 n.47. @mphasis added)

           In 1998, however, the Supreme Court held that transferee courts lack such self-transfer

authority, concluding that the practice was at odds with $ la07(a). See Lexecon,523 U.S. at 36




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(stating that "self-assignment" by a kansferee court "conclusively thwarts the Panel's capacity to

obey the unconditional command of $ 1407(a).").In response to the Lexecon decision and at the

Panel's recommendation, the Judicial Conference of the United States immediately urged

Congress to enact a statutory fix, and has continued to advocate such a change, as has the Panel.

Indeed, two past Panel chairs, Judge Hodges in 2006 and Judge Nangle in 1999, testified before

Congress and, echoing the views of many experienced transferee judges, strongly urged that

$ 1407 be amended to fix the situation that Lexecon created. Despite these best efforts, Congress

appears unlikely to act on our request at this time. Id. at2234 n.47.

       To be sure, the Lexecon imperative does create severe inefficiencies in some cases as the

transferor judge must re-familiarize himself or herselfwith the remanded action (perhaps many

months after it was transferred out of the district under $ 1407). However, efficiency is not the

only touchstone ofjustice. A substantial body of opinion and a respect for jurisdictional

principles suggest that aplaintiffordinarily has a right to a trial in the forum of his or her

choosing. See,e.g., Kosterv. (Am.) Lumbermens Mut. Cas Co.,330 U.S. 518, 524 (1947)

(noting that a plaintiffordinarily should not be denied the advantages of his chosen jurisdiction).

Aggregation of cases for the purpose of facilitating settlement is a byproduct of $ 1407, but is not

its central statutory purpose. See In re Patenaude, 210 F.3d 135,144 (3d Cir. 2000). Id.

        Transferee judges are nothing if not resourceful where necessity dictates and several

appropriate strategies are available by which the Lexecon conundrum may be avoided. For

example, provided the plaintiffis amenable and venue lies in the transferee district, the action

could be refiled there. See MANUAL FOR COMPLEX LITIGATION (FOURTID $ 20.132, at

224 Q004). The parties could also agree to waive objections to venue. See In re Carbon Dioxide


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Indus. Antitrust Litig.,229 F.3d 1321, 1325-26 (1 lth Cir. 2000). Alternatively, the transferee

court could try a "bellwether" case that was originally filed in the transferee district, the result

of which may promote settlement of the transferred actions in the MDL. See MANUAL FOR

COMPLEX LITIGATION (FO[IRTH), supra, 5 20.132, at224; See also In re Air Crash Near

Cali, Colom. on Dec. 20, 1995, Case No. l:96-MD-01125-KMM (S.D. Fla. Jarrr. 12,2000)

(noting that plaintiffs in certain transferred actions had agreed to be bound by the results of a

consolidated liability trial in the transferee court). Another option, suggested in the Lexecon

opinion itself, is for the transferor court to transfer the action back to the transferee court under

$ 1a0a(a). Lexecon,523 U.S. at39 n.2; See also Kemtin Shops, Ine. v. Bankof La., No. 97 Civ.

907 (LLM),1999 WL 294800, at *l (S.D.N.Y. May I l, 1999) (transferring an action remanded

under $ 1407 to the transferee court under $ 1404). Still another option would be for the

transferee judge to follow the action to the transferor court after obtaining an intracircuit or

intercircuit assignment. See MANUAL FOR COMPLEX LITIGATION (FOURTID, supr4

5 20.132, at224;,See also Dippin' Dots, Inc. v. Mosey,476F.3d 1337, I34l-42 (Fed. Cir.2007)

(stating that an MDL judge from the United States District Court for the Northern District of

Georgia, sitting by designation, presided over the trial of a remanded action in the United States

District Court for the Northem District of Texas)." 1d.


C.      MDL2179

        The Lexecon decision applies to MDL 2179. This transferee court, which is conducting

pretrial proceedings pursuant to 28 U.S.C. $1407(a), has no authority to invoke 28 U.S.C.

$1404(a) to assign a transferred case to itselffor trial.




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       On August 10, 2010, the United States Judicial Panel on Multidistrict Litigation

("JPML") issued its Transfer Order (Rec. Doc. 1) wherein it clearly states:

       "IT IS TT{EREFORE ORDERED that, pursuant to 28 U.S.C. $ 1407, the actions listed on
       Schedule A and pending outside the Eastern District of Louisiana are transferred to the
       Eastern District of Louisiana and, with the consent of that court, assigned to the
       Honorable Carl J. Barbier for coordinated or consolidated pretrial proceedings with the
       actions pending in that district and listed on Schedule A." (Emphasis added)

       Merely three examples of how this Honorable Court overreached its authority in issuing

its Order and Reasons [As to Motions to Dismiss the Bl Master Complaint], Rec. Doc. 3830

dated August26,20ll, are by ruling:

       (a) "State law, both statutory and common, is preempted by maritime law,
       notwithstanding OPA's savings provisions. All claims brought under state law are
       dismissed."

       (b) "General maritime law claims that do not allege physical dalnage to a proprietary
       interest are dismissed under the Robins Dry Dock rule, unless the claim falls into the
       commercial fi shermen exception."

       (c) "....that nothing prohibits Defendants from settling claims for economic loss. While
       OPA does not specifically address the use of waivers and releases by Responsible Parties,
       the statute also does not clearly prohibit it. In fact, as the Court has recognized in this
       Order, one of the goals of OPA was to allow for speedy and efficient recovery by victims
       of an oil spill."

       Moreover, the MDL 2179 cotrt fails the "Heyburn Test." As noted above, Judge

Heyburn points out that five appropriate strategies are available by which the Lexecon

conundrum may be avoided:

       (a) Provided the plaintiff is amenable and venue lies in the transferee district, the action
       could be refiled there.

       (b) The parties could also agree to waive objections to venue.

       (c) Alternatively, the transferee court could try a "Bellwether" case that was originally
       filed in the transferee district, the result of which may promote settlement of the
       transferred actions in the MDL.

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       (d) Another option, suggested in the Lexecon opinion itself, is for the transferor court to
       transfer the action back to the transferee court under $ laOa(a).

        (e) Still another option would be for the transferee judge to follow the action to the
        transferor court after obtaining an intracircuit or intercircuit assignment.

        The MDL 2179 cotxthas failed to avail itself of any of these "appropriate" strategies. A

Bellwether trial is sui generis; a "walks like a duck, quacks like a duck, it must be a duck"

analysis cannot be used. Judge Barbier cannot try the cases kansferred for "pretrial proceedings."

Judge Barbier certainly cannot try all of the plaintiffs' claims in the aggregate in this proceeding.

Nor can the Lexecon decision be circumvented by the device of permiuing claimants to file

"shorJ-form joinders" injecting themselves into the limitation action. Accordingly, Judge

Barbier, at the request of the PSC, formulated a non-jury trial plan which does not seek to

adjudicate all the plaintiffs' claims in the aggregate. Instead, it plans a non-jury trial of "issues"

related to "allocation of fault" in the abstract. This novel proposal is still defective, as a trial of

"issues" would try parts of actions that under Lexecon the MDL judge must not try and would

amount to a class action in a limitations proceeding contrary to Rule 23. Moreover, the Fifth

Circuit has held that class actions are not permitted in limitation proceedings. Lloyds Leasing

Ltd. v. Bates, 902F.2d 368 (5th Cir. 1990). Indeed, such a trial resembles an unsanctioned class

action in almost everything but name. It does not remotely resemble a "BellwetheC'trial.

        Although Judge Barbier and the PSC refer to the MDL 2179 court's "broad discretionary

authority," a "special-procedure" should not be crafted where a mandatory procedure already

exists. It is important to remember that the very MDL procedures Judge Barbier and the PSC

wish to circumvent were specifically enacted to reduce costs and promote judicial economy.

Allowing the MDL 2179 trialplan would be inconsistent with the clear statutory mandate of the


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multidistrict litigation enabling statute,28 U.S.C. $ 1407(a), and the Supreme Court's holding in

Lexecon. While the need to promote efficiency in litigation is real, it cannot be accomplished by

overriding the applicable provisions set forth by Congress. In re: FEMA Trailer Formaldehyde

Products Liability Litigation,2009 WL n9A66S (United States District Court, E.D. Louisiana).

The Supreme Court has made it very clear that considerations of finality, efficiency and

economy do not justiff defiance ofthe congressional condition that a district court conducting

pretrial proceedings pursuant to 28 U.S.C. $1a07(a) has no authority to invoke 28 U.S.C.

$1404($ to assign a transferred case to itself for trial; such an action shall be remanded to the

transferor court for trial.

        Judge Heybum describes the Lexecon decision as a "conundrum" which may be avoided

by "resourceful" transferee judges. Plaintiff respectfully disagrees. The Lexecon decision is not a

conundrum. It is not an obstacle which judicial discretion may circumvent in the name ofjudicial

efficiency/economy or political expediency. It is the law.

                                         CONCLUSION

        For the foregoing reasons, Plaintiffrespectfully requests that this Honorable Court yacate

its Order and Reasons [As to Motions to Dismiss the Bl Master Complaint], Doc. No. 3038

dated August26,20ll.

DATED: Api18,2012                                             Respectfu lly submitted,

                                                              /s/ Brian J. Donovan
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                                CERTIHCATE OF SERVICE

       I hereby certiff that the above and foregoing has been served on All Counsel by

electronically uploading the same to Lexis Nexis File & Serve in accordance with Pretrial Order

No. 12, and that the foregoing was electronically filed with the Clerk of Court of the United

States District Court for the Eastern District of Louisiana by using the CM/ECF System, which

will send a notice of electronic filing in accordance with the procedures established in MDL

2179, on this 8th day of April, 2012.

                                                            /s/ Brien J- Donovnn
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